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      ~AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                                                                                                          FILED'
                   Sheet 1




                                              UNITED STATES DI
                                                                                                                                                22
                                                   SOUTHERN DISTRICT OFe~~awJbAJ4.j~UU~~
                       UNITED STATES OF AMERICA                                     AMENDED JUDGMENT IN A'CItIMINAL CASE
                                         v.                                         (For Offenses Committed On or After ~~vemmr' I ~~7~~
                             RODOLFO FUENTES (3)                                    Case Number: 12CR0075-WQH
                                                                                    MICHAEL MCCABE, CJA
                                                                                   Defendant's Attorney
     REGISTRAnON NO. 30844298
     181 Correction of Sentence for Clerical Mistake - Supervised release conditions (Fed. R. Crim. P.36)
     THE DEFENDANT:
     181 pleaded guilty to count(s) 1 OF THE SUPERSEDING INFORMATION
     D     was found gUilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                      Nature of Offense                                                                                 Number(s)
8 USC 1324(a)(l)(A)(ii),              CONSPIRACY TO TRANSPORT AND HARBOR ILLEGAL ALIENS                                                    1
(iii) and (v)(l)




        The defendant is sentenced as provided in pages 2 through _ _4.;....._ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 181 Count(s) Underlying information                       -----------------------------------------­
                                                                      is 181 areD dismissed on the motion of the United States.
 ~ Assessment: $100.00



 ~ Fine waived                                       D Forfeiture pursuant to order filed                                      , included herein.
                                                                                               ---------------
      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney ofany material change in the defendant's economic circumstances.
                                                                             MAY25,2012




                                                                            UNITED STATES DISTRICT JUDGE
                                                                                                                                            12CR0075-WQH
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AD 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
            Sheet 2 - Imprisonment
                                                                                           Judgment - Page _....;2_ of       4
DEFENDANT: RODOLFO FUENTES (3)
CASE NUMBER: 12CR0075-WQH
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         9 months



    o    Sentence imposed pursuant to Title 8 USC Section J326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o   The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
          Oat                                     Oa.m.    OP.ro.      on _ _ _ _ _ _ _ _ _ _ __

              as notified by the United States Marshal.

   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o    before
                       -------------------------------------------------------------------------
         o    as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                to

at _______________________ , with a certified copy of this judgment.


                                                                                        UNITED STATES MARSHAL


                                                                    By ________--__- - -__- - - - - - - - - - - ­
                                                                                    DEPUTY UNITED STATES MARSHAL




                                                                                                                12CROO75-WQH
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AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

DEFENDANT: RODOLFO FUENTES (3)
CASE NUMBER: 12CR0075-WQH
                                                                                                       ..      Judgment-Page ~ of _ _4_ __




                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
I year

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, slate or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000,-pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tile requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check ifapplicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such ime
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also com ply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)      the defendant shall support his or her dependents and meet other family responsibilities;
 5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
 6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit conilScation of any
       contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
13)    as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
       record or personal history or characteristics and shall permit the probation officer to make such notifications and to confrrm the
       defendant's compliance with such notification requirement.

                                                                                                                                    12CR0075-WQH
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                     Sheet 4 - Special Conditions
                                                                                                          Judgment-Page   --1- of _ _4..:..-_ _
         DEFENDANT: RODOLFO FUENTES (3)                                                              II
         CASE NUMBER: 12CR0075-WQH




                                                SPECIAL CONDITIONS OF SUPERVISION
 181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
     reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
     search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
     this condition.
o    If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
     officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
181 Not enter or reside in the Republic ofMexico without written permission ofthe Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o officer,
  Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
           if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o probation
  Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
             officer.
o Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o Complete             hours of community service in a program approved by the probation officer within
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days.
o probation
  Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
             officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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